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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                     GREENVILLE DIVISION


MONTRELL GREENE                                                                               PLAINTIFF

VS.                                                      CIVIL ACTION NO. 4:16-CV-093-GHD-JMV

GREENWOOD PUBLIC SCHOOL DISTRICT
AND DIERDRE MAYES, RANDY CLARK AND
SAMANTHA MILTON, IN THEIR OFFICIAL
AND INDIVIDUAL CAPACITIES                                                                DEFENDANTS


  DEFENDANTS’ REBUTTAL BRIEF IN RESPONSE TO PLAINTIFF’S OPPOSITION
          TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


                                             INTRODUCTION

             Plaintiff argues in this Response Brief that Defendants’ Motion to Dismiss falls short for

three reasons: (1) the defendants’ jurisdictional argument is barred by collateral estoppel, or, in the

alternative, the Court has jurisdiction over plaintiff’s claims, (2) he has pleaded a procedural due

process property violation sufficient to overcome the defendants’ qualified immunity defense, (3)

he has pleaded a deprivation of liberty interest claim sufficient to overcome defendants’ Motion to

Dismiss. These arguments fail for the reasons that follow.

                                                ARGUMENT

             A.     Whether a Superintended Must Appeal the Board’s Decision Pursuant to Miss.
                    Code Ann. § 37-9-113 Was Not Decided by the Chancery Court

             Plaintiff first argues that the defendants’ jurisdictional agreement is barred by the doctrine

of collateral estoppel. “Collateral estoppel must be applied cautiously on an ad hoc basis.” Marcum

v. Mississippi Valley Gas Co., 672 So. 2d 730, 733 (Miss. 1996). “[T]he party asserting collateral


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estoppel bears the burden of establishing the doctrine’s requirement.” Campbell v. City of Indianola,

117 F. Supp. 3d 854, 864 (N.D. Miss. 2015). Under Mississippi law, the parties are collaterally

estopped from relitigating issues that (1) have been actually litigated in a former action, (2) were

determined by the court, and (3) were essential to that court’s judgment. Id. In addition, the parties

also have to have the same identity or have been in privity with the former litigants. Id. Here,

plaintiff’s collateral estoppel argument falls short because plaintiff cannot make out the second and

third elements. He cannot show that the issue of subject matter jurisdiction was decided by the

chancery court or that the application of Miss. Code Ann. § 37-9-113 was essential to the court’s

decision.

             Plaintiff wrongly suggests that the interpretation and application of Miss. Code Ann. § 37-9-

113 was decided by the chancery court or essential to its judgment. Plaintiff filed a complaint for

discovery in chancery court seeking to determine why he was fired from his job. He did not

challenge the decision of the Board or seek reversal of that decision. In response, defendants did

indeed argue that the Court lacked subject matter jurisdiction over plaintiff’s claims because plaintiff

failed to pursue his appeal under Miss. Code Ann. § 37-9-113. Plaintiff opposed this argument

claiming that the chancery court had jurisdiction to grant plaintiff discovery, regardless of Miss.

Code Ann. § 37-9-113. Though the applicability of Miss. Code Ann. § 37-9-113 was contested by

the parties, the court intentionally did not determine whether plaintiff was required to perfect his

appeal under Miss. Code Ann. § 37-9-113 in order to challenge the Board’s decision to dismiss him.

The court granted plaintiff’s complaint for discovery pursuant to its equitable authority.

             In its opinion granting plaintiff’s discovery request, the chancery court briefly looked at the

applicable statute, and expressly declined to address whether plaintiff was required to perfect his


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appeal in that court because, in the court’s view, “the legislature has created an unreasonable void

between Miss. Code Ann. § 37-9-59, Miss. Code Ann. § 37-9-111(9) and Miss. Code Ann. § 37-9-

113.” Chancery Court Order at 4, Ex. 1 to Pl.’s Compl. For that reason, the chancery court chose

to look to “other equitable solutions” so that plaintiff could be provided the reason for his

termination. Id. The court did not determine whether it was necessary for plaintiff to appeal the

school board’s decision in the chancery court. In fact, the court clearly specified that its order

requiring defendants to provide plaintiff with the reasons for his termination arose under its equitable

power under a bill of discovery. See id.

             Plaintiff cites Baxter v. City of Hernando, 997 F. Supp. 2d 46 (N.D. Miss. 2014) as an

instance where collateral estoppel was applied. Collateral estoppel was indeed applied in Baxter,

but the facts there have no resemblance to the facts here. In Baxter, the plaintiff, whose conviction

for violating a municipal ordinance was upheld by a county court, actually challenged the

constitutionally of the statute and the “the trial judge determined that the term ‘vehicle’ was not

unconstitutionally vague in violation of his rights.” Id. at 464 (emphasis added). Here, there was

no determination by the trial judge as to the proper application of Miss. Code Ann. § 37-9-113, and

while that issue was actually litigated by the court, application of that statute was not essential to the

court’s excercise of its equitable powers. The court expressly circumvented the “void” by granting

plaintiff relief apart from that statute. Whereas in Baxter the previously litigated issue was decided

and essential to the state court judgment, here, it was not.

             The chancery court’s order, then, demonstrates that not only did the court decline to address

whether it had the authority to review the Board’s decision pursuant to Miss. Code Ann. § 37-9-59,

but it intentionally turned to other avenues to grant plaintiff relief—avenues that were available to


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it pursuant to its equitable powers. The fact remains that plaintiff had procedural safeguards

available to him under Miss. Code Ann. § 37-9-113 but chose to forgo that procedure by seeking

discovery in chancery court. Plaintiff is now attempting to bring due process claims in this court

without ever having availed himself of the appellate procedure established by the Mississippi

Legislature. Plaintiff failed to exhaust his state law remedy, and the Court lacks jurisdiction to

review his state law claims. The issue was not decided by the chancery court and plaintiff’s

argument that collateral estoppel applies is misplaced.

             B.     Plaintiff Could Have Challenged the Board’s Failure to Make a Stenographic
                    Record If He Would Have Appealed as Required by Miss Code Ann. § 37-9-113

             In the alterative, plaintiff argues that Miss. Code Ann. § 37-9-113 does not apply because the

Board failed to make a record of the termination proceedings. See Pl.’s Mem. Resp. Br. at 8 (“GSPD

did not make a stenographic record. . . . [The chancery court] would not have a record. . . . [The

Chancery Court further could not determine prejudicial error . . . without a record.”). The problem

for plaintiff is that he should have appealed this alleged deficiency—if his interpretation of the

statute is correct—to the chancery court on appeal, as provided by Miss. Code Ann. § 37-9-113.

Plaintiff cannot unilaterally decide to forgo his statutory remedies because he believes the

proceedings were deficient. If anything, the appeals process exists to provide remedies to plaintiff

where the proceedings are deficient. Whether the Board made a record has nothing to do with the

applicability of Miss. Code Ann. § 37-9-113 or the Court’s determination of whether it lacks subject

matter jurisdiction over the current dispute. The question is whether plaintiff can challenge the

proceedings in this Court without having availed himself of the appeals process as required by

Mississippi law.

             C.     The Actions of the Individual School Board Members Were Objectively

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                    Reasonable As a Matter of Law

             The doctrine of qualified immunity is only available to individuals sued in their individual

capacity. Plaintiff’s procedural due process claim, both with respect to his liberty interest and

property interest, hinges whether his rights were deprived without due process. It is uncontested that,

under Mississippi law, the Board was not required to give plaintiff a hearing regarding the reasons

for his termination. See Miss. Code Ann. § 37-9-111 (9). Plaintiff may disagree with Mississippi

Legislature’s decision, but the individual defendants’ decision to follow Mississippi law was

objectively reasonable under the circumstances. Callahan v. Lancaster-Lebanon Intermediate Unit

13, 880 F. Supp. 319, 336 (E.D. Pa. 1994) (citing Caldwell v. LeFaver, 928 F.2d 331 (9th Cir. 1991)

for the legal proposition that “defendants adherence to state statute has bearing on their objective

reasonableness”). The individual defendants cannot be held individually liable because they

followed a law enacted by the Mississippi Legislature and are therefore entitled to qualified

immunity with respect to plaintiff’s property interest claims.1

             D.     Plaintiff Still Has Not Alleged a Valid Liberty Interest Claim

             Plaintiff’s defense of his liberty interest claim repeats the same factual allegations regarding

the property interest claim, that is, the new Board terminated his employment quickly and for

“cause.” These vague allegations are insufficient to allege that he was stigmatized by statements

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          Plaintiff makes much of the fact that the new school board members acted quickly when
they were appointed to the board. But the speed with which the Board acted does not mean that
plaintiff’s job performance was never evaluated. Pursuant to the chancery court’s order, plaintiff has
subsequently been provided a variety reasons for his termination which relate to his job performance.
Those reasons, and the documents supporting them, were produced to plaintiff pursuant to the
chancery court’s order. The information supports the Board’s actions in terminating plaintiff’s
employment with the school board, and incidently, shows that plaintiff does not have any damages
arising out of his procedural due process claim.


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made by the Board. In fact, plaintiff’s deprivation-of-liberty-interest argument is so deficient that

he goes so far as to assert alleged injuries suffered by his supporters who were allegedly “publicly

harassed, villified and demeaned and board meetings.” At most, plaintiff alleges that the press

showed up at this termination hearing, without stating what the press learned at the hearing, which

individual defendant provided them information, and what information that was reported was false.

Plaintiff cannot recover on a liberty interest claim simply because the termination of his employment

was made public. Xu v. Univ. of Tex. M.D. Anderson Cancer Ctr., 595 F. App’x 341, 343 (5th Cir.

Tex. 2014). Plaintiff still has not explained who made stigmatizing statements against him and

when. Because plaintiff’s complaint has not stated a liberty interest claim with any specificity, it

should be dismissed. Anderson v. Pasadena Indep. Sch. Dist., 184 F.3d 439, 443 (5th Cir. 1999).

             E.     Plaintiff Has Conceded Any State Law Claims

             Finally, defendants moved for dismissal of any state law claims plaintiff may have asserted.

See Defs.’ Mot. to Dismiss ¶¶ 8-10. In his response, plaintiff fails to mention any state law claims

or contest the defendants’ request for their dismissal. Failure to challenge the defendants’ request

for dismissal on those claims is either (1) a concession that he never alleged those claims or (2)

constitutes abandonment of those claims.

                                              CONCLUSION

             The Court lacks jurisdiction to hear plaintiff’s procedural due process claims because he did

not exhaust his remedies pursuant to Miss. Code Ann. § 37-9-113. If the Court finds that it does

have jurisdiction, the individual defendants are entitled to qualified immunity as to plaintiff’s

depravation of property interest claims without due process of law and should completely dismiss




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any claims that plaintiff was deprived of his liberty interest without due process of law.

                                              Respectfully submitted,

                                              GREENWOOD PUBLIC SCHOOL DISTRICT,
                                              DIERDRE MAYES, RANDY CLARK AND
                                              SAMANTHA MILTON, In their Individual and
                                              Official Capacities


                                      By:     /s/ Robert F. Stacy, Jr.
                                              OF COUNSEL

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                                      CERTIFICATE OF SERVICE

             I hereby certify that on July 18, 2016, I electronically filed the foregoing document with the

Clerk of the Court using the ECF system which sent notification of such filing to counsel who have

electronically registered with the Court, and I hereby certify that I have mailed by United States

Postal Service the document to the non-ECF participants. The following is a list of all counsel of

record or parties regardless whether electronically notified by the Court or sent via United States

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